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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                          MDL No. 2924
   PRODUCTS LIABILITY                                                                   20-MD-2924
   LITIGATION
                                                          JUDGE ROBIN L. ROSENBERG
                                                 MAGISTRATE JUDGE BRUCE E. REINHART

   ________________________________/

   THIS DOCUMENT RELATES TO:

   Rose Banks v. Boehringer Ingelheim Corp. et al., 3:23-cv-81044


           ORDER GRANTING DEFENDANTS’ SECOND CONSOLIDATED MOTION
                             PURSUANT TO PTO 84

           THIS CAUSE came before the Court on the Defendants’ Second Consolidated Motion

   Pursuant to PTO 84 at docket entry 6981. For the reasons set forth in the Motion and the Plaintiff’s

   failure to file any response, the Court GRANTS the Motion and finds that Plaintiffs in the above-

   referenced actions have failed to meet their obligations under the pretrial orders of this Court.

           Accordingly, the above-referenced actions are HEREBY DISMISSED WITH

   PREJUDICE. The Clerk of the Court shall docket a copy of this Order in each of the cases

   referenced above.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 19th day of October,

   2023.

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                                                         Honorable Robin L. Rosenberg
                                                         UNITED STATES DISTRICT JUDGE
